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                      Exhibit Q

                        REDACTED
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                                                 Document Review


                                             June 29, 2012



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                               Quinn Emanuel Team




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                                                        Tagging            (subject to change)
               Tag all documents reviewed so that we can come back to them later and easily locate as needed.
                             Each document may receive MULTIPLE tags, including sub-tags.

                                    TAG                                                                     EXPLANATION
                                              =
                                                                     Use this tagfor documents that are either
                                                                     (1) not responsive to defendants' requests for production or
    Nonresponsive                                                    (2) relate to a request for which     has declined to produce documents (See Chart of Plaintiff's
                                                                     Positions with respect to Document Requests)




    Responsive                                                       Use this tag for documents responsive to defendants requests for production limited by
    Sub tags include                                                 objections




                                                                     Use this tag for documents that directly relate to whether our claims are actionable
    Key Doc
                                                                                 USE SPARINGLY (he. 1% of documents reviewed),
                                                                     Use this tag for documents that are interesting or importantto the case and you feel should be
                                                                     flagged for the group, such as documents that would be helpful in depositions or briefs (
    Interesting Doc
                                                                     (i e 10% of documents reviewed)
    Not Confidential                                                 Public documents new reports SEC filings etc

    Not Privileged                                                   Any documents that are not subject to privilege

    Privileged Withhold                                              Use this tag for documents that are responsive/relevant but that are subject to either the
    Sub tags include (a) 'A/C (attorney client privilege) (b) W/P    attorney client privilege or work product privilege
    (work product privilege) (c) deliberative process
                                                                     Use this tag for documents for which you are struggling to make a production call make all efforts
    Reviewer Question/Follow Up                                      to discuss the document with a member of the Second Level ReviewTeam prior to using this tag

                                                                     Use this tag for documents with technical issues that you are unable to resolve on your own (e g
    Technical Issues                                                 documents that are in an unreadable format or cannot be opened)

    Second Level Review Complete                                     DO NOT USE - to be used by Second Level Review Team only
    Highly ConfidentialSecond Review Only                            DO NOT USEto be used by Second Level ReviewTeam only

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                     "Responsive" Tags: Sub-Tags


           Once you determine that a document is "Responsive," please
           select one of the following sub-tags to further describe the
           subject matter:




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                             Relevant People at



           The people at                           are not always relevant
           to these Actions. They are relevant regarding
           their examination of the                                      and
           oversight.
                                                                            Role




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                                               Privilege

           One of the most important things to keep in mind during this review is protecting
                    and the        ' privileged documents.

           Under Fed. R. Civ. P. 26(b)(1), parties may only obtain discovery of relevant
           nonprivileged matters. Thus, if a document is privileged, the Defendants are not
           entitled to it.

           You should review for privilege on all documents you consider responsive. Reviewers
           should err in favor of designating a document which has any possibility of being
           privileged as "privileged." If you determine that the document is privileged, or has
           any possibility of being privileged, please select the "Privileged" tag.

           While we are relying on privileged search terms, they are not going to capture every
           privileged document. Do not assume that because a document lacks a privileged
           search term, it is not privileged.

           This summary is no substitute for questionsif you have any questions, ask them.
           Privilege can be tricky and there are a lot of gray areas so chances are if you have a
           question, someone else does too.



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                    What is a privileged document?


            Attorney-Client Privilege/Work Product
            Immunity:
                 Documents may be protected from disclosure under the attorney-client privilege if the
                 document constitutes, contains or references a confidential communication made between
                 lawyer and client for the purpose of giving or receiving legal advice.

                 The attorney work product immunity is intended to protect from disclosure an attorney's
                 mental impressions, opinions, conclusions or legal theories prepared in anticipation of
                 litigation or for trial. A document will be protected from disclosure under the attorney work
                 product immunity if the document constitutes a confidential document or memorandum,
                 prepared by or at the direction of an attorney, revealing the attorney's mental impressions,
                 opinions, conclusions or legal theories, and prepared in anticipation of litigation or for trial.

        a   BE ON THE LOOK-OUT FOR THE LEGAL PROFESSIONAL SEARCH TERMS DURING YOUR

            REVIEW.




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             What is a privileged document? (cont.)

             Documents Marked with "Privileged" or "Work Product"
             Headings:
                 Pay careful attention to documents marked with "PRIVILEGED" or
                 "WORK PRODUCT" labels. All such documents should be marked as
                 "privileged." These labels are usually at the top of the page or at the
                 end of a document.
             Documents of the same "family" consistently marked:
                 If you believe that a document is privileged, all documents in the
                 same family should be marked as privileged.
            Attorney as Custodian:
                 Documents that list an attorney as the custodian should be marked
                 as privileged.
            NOTE: Reviewer should still use subject tags even if marking the
            document as privileged or highly confidential.




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                               List of Key Attorneys

                                                             Quinn Emanuel




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                                             Logistics


            LDiscovery Vendor
                Runs on the Relativity platform
            Monday through Friday, 9:00 AM                                        - 8:00 PM
               Average 50 hours/week




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                                                Questions?


            For your information, we provided copies of:
                Defendants' First and Second Requests for the Production of Documents
                        Responses to Defendants' First Interrogatories
                        Initial Disclosures
               Two complaints
               List of All                    By Complaint
               List of All Defendants By Complaint
               Text from            decision denying the Defendants' Motion to Dismiss the Second
               Amended Complaint against
               A list of the Defendants' prioritized documents as reflected in the parties' Joint Report
               on Case Management Issues
               The Defendants' Motion to Dismiss in




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